         Case: 23-2971     Document: 41      Page: 1     Date Filed: 11/28/2023




        UNITED STATES COURT OF APPEALS FOR THE THIRD CIRCUIT

                                Nos. 23-2971 & 23-2972

                             In re: LTL Management LLC

                              (D.N.J. No. 3-23-cv-10979)
                                          ___

                             In re: LTL Management LLC

                              (D.N.J. No. 3-23-cv-17597)


Present: SHWARTZ, RESTREPO and AMBRO, Circuit Judges

      Joint Motion Regarding a Proposed Briefing Schedule, Waving Oral Argument
      and to Decide the Case on the Briefs, and to Vacate the November 9 Order with
      proposed briefing schedule as follows:

             Appellants’ briefs due by December 13, 2023
             Appellees’ briefs due within 44 days of filing of Appellants’ briefs
             Appellants’ reply briefs due within 21 days of filing of Appellees’ briefs

                                                       Respectfully,
                                                       Clerk/AR

_________________________________ORDER________________________________
The foregoing Motion is granted in part and denied in part as follows: (1) the proposed
briefing schedule is ADOPTED; (2) the request that the panel decide these appeals on the
briefs is DENIED as presented, as the panel shall decide whether to hold oral argument
after reviewing the briefs; and (3) the clerk order entered on November 9 is
VACATED. The parties are ordered to limit the joint appendix to the materials
necessary to resolve these cases on appeal.

                                                       By the Court,

                                                       s/ Thomas L. Ambro
                                                       Circuit Judge

Dated: November 28, 2023
Lmr/cc: All Counsel of Record
